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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF NEW YORK


                                            )
BANCO SAN JUAN INTERNACIONAL, INC.,         )
                                            )
          Plaintiff,                        )
                                            )      Case No. 1:23-cv-6414
          v.                                )
                                            )
FEDERAL RESERVE BANK OF NEW YORK            )
and BOARD OF GOVERNORS OF                   )
THE FEDERAL RESERVE SYSTEM,                 )
                                            )
                                            )
          Defendants.                       )
                                            )


 DEFENDANT BOARD OF GOVERNORS OF THE FEDERAL RESERVE SYSTEM’S
   OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION


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         Defendant Board of Governors of the Federal Reserve System (“Board”) respectfully

submits this opposition to the motion by Plaintiff Banco San Juan Internacional, Inc. (“BSJI”)

seeking a preliminary injunction preventing Defendant Federal Reserve Bank of New York

(“FRBNY”) and the Board from “closing BSJI’s master account and terminating BSJI’s access

to Federal Reserve System services.” ECF 7 at 1.

                                          INTRODUCTION

         BSJI’s motion seeking a preliminary injunction suffers from a fatal flaw with respect to

the Board: decisions about opening and closing BSJI’s master account lie with FRBNY as a

matter of law and contract, not with the Board. Tellingly, the Complaint in this case contains no

factual allegations about any actions taken by the Board with respect to the April 2023 decision

to terminate BSJI’s master account, because that decision was made by FRBNY. See, e.g.,

Complaint ¶¶ 14-27 (describing actions taken only by FRBNY). Because any injury claimed by

BSJI is fairly traceable only to FRBNY, there is no standing to pursue a lawsuit against the

Board, and BSJI’s motion for preliminary relief should be denied as to the Board on this basis

alone.

         However, even if the Court were to proceed with an analysis of the preliminary

injunction factors, BSJI cannot satisfy any of them:

   •     BSJI’s claimed irreparable harm – the loss of customers – is entirely speculative

         in light of the fact that these customers are principally or entirely family or friends

         of BSJI’s owner.

   •     BSJI is unlikely to succeed on the merits of its claims against the Board, all of

         which rise or fall on the contention that it is has an inviolate entitlement to a

         master account under 12 U.S.C. § 248a. The plain text of that provision does not


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         say anything about master accounts, much less create an automatic and absolute

         right to one.

     •   The public interest and balance of equities weigh against granting the injunction,

         as money laundering poses significant risks to the safety and soundness of the

         banking system, and deference should be accorded to the judgment of the

         contracting Reserve Bank, acting in accordance with federal regulatory guidance,

         as to when an institution presents undue risk.

Accordingly, the Board respectfully requests that the Court deny BSJI’s motion for a preliminary

injunction.

                                    STATEMENT OF FACTS

I.       The Federal Reserve System And Master Accounts

         The Federal Reserve System, the nation’s central bank, was established in 1913 by the

Federal Reserve Act, 12 U.S.C. § 221 et seq (“FRA”). It consists of the Board, the Federal Open

Market Committee, and twelve regional Federal Reserve Banks that serve financial institutions

in their respective districts. Reserve Banks serve as “bankers’ banks” and are authorized by

statute to provide various banking services. See generally 12 U.S.C. §§ 341-61. The Board, a

federal agency and not a bank, has neither the ability nor statutory authority to receive deposits

or carry out activities such as check clearing, wire transfers, automated clearing house services,

and other services appurtenant to the business of banking that Congress vested in the Reserve

Banks. See, e.g., 12 U.S.C. §§ 342, 343, 347, 347c, 347d, 355(1).

         The Reserve Banks offer depository services through master accounts, which are

accounts maintained by a depository institution at its regional Reserve Bank. A master account

“is both a record of financial transactions that reflects the financial rights and obligations of an



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account holder and of the Reserve Bank with respect to each other, and the place where opening

and closing balances are determined.” 1 As deposit accounts, master accounts are governed by

12 U.S.C. § 342, which provides that “[a]ny Federal reserve bank may receive from any of its

member banks, or other depository institutions . . . deposits of current funds in lawful money[.]”

In providing general oversight of the activities of the Reserve Banks, the Board may issue

guidance with regard to master accounts, but the Board has no ability to open or terminate a

master account and does not handle the administration of any institution’s master account. See

12 U.S.C. §§ 248(j), 342.

       Operating Circulars, issued by Reserve Banks beginning in 1998, govern the relationship

between a Reserve Bank and a master account holder. These circulars make clear that a master

account creates a contract between a depository institution and the Reserve Bank, to which the

Board is not a party, and which the Reserve Bank can terminate at any time. For example, the

1998 Operating Circular 1 “establish[es] the terms for opening, maintaining, and terminating

master accounts with the Federal Reserve Bank,” and does not list the Board as a party to the

account relationship or state that Board approval is necessary. 2 In addition, the Circular states

that “[a]ll master accounts are subject to Reserve Bank approval,” and notes that the Reserve

Bank “may close your master account . . . at any time but will endeavor to give at least five




       1
           Reserve Maintenance Manual, https://www.federalreserve.gov/monetarypolicy/reserve-

maintenance-manual-account-structure.htm.
       2
           Operating Circular 1, Account Relationships (Jan. 2, 1998) ¶ 1.1,

web.archive.org/web/20000116011948/http://www.frbservices.org/Industry/pdf/Oc1.pdf.


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business days’ prior notice.” 3 Both of these provisions are substantively similar to the

comparable provisions in the most recent operating circular, reflecting the longstanding practice

in which decisions about master accounts are made by Reserve Banks in accordance with the

authority provided to them by Congress in the Federal Reserve Act. 4

II.     The Board’s Guidelines Affirming Reserve Bank Discretion To Deny Master
        Accounts

        On August 19, 2022, following two rounds of public notice-and-comment, the Board’s

“Guidelines for Evaluating Account and Services Requests” became effective. 87 Fed. Reg.

51,099 (“Guidelines”). The Guidelines were issued “to increase the level of transparency and

consistency of the process used by Reserve Banks to evaluate institutions’ access to Reserve

Bank accounts and services.” Id. at 51,106. The Guidelines set forth six principles for Reserve

Bank use in decisions regarding access to Reserve Bank master accounts and services. Pertinent

to this case, Principle 5 states that “[p]rovision of an account and services to an institution should

not create undue risk to the overall economy by facilitating activities such as money laundering,

terrorism financing, fraud, cybercrimes, economic or trade sanctions violations, or other illicit

activity.” Id. at 51,109.

        The Guidelines also create a three-tiered review framework that “is meant to serve as a

guide to the level of due diligence and scrutiny to be applied by Reserve Banks to different types

of institutions.” Id. The Guidelines note that, “[a]lthough institutions in a higher tier will on



        3
            Id. ¶¶ 2.3, 2.8.
        4
            See Operating Circular 1, Account Relationships (Aug. 16, 2021) ¶¶ 1.1, 2.6, 2.10,

https://www.frbservices.org/binaries/content/assets/crsocms/resources/rules-regulations/081621-

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average face greater due diligence and scrutiny than institutions in a lower tier, a Reserve Bank

has the authority to grant or deny an access request by an institution in any of the three proposed

tiers . . . on a case-by-case, risk-focused basis[.]” Id. The three tiers are: “Tier 1: Eligible

institutions that are federally insured”; “Tier 2: Eligible institutions that are not federally insured

but are subject (by statute) to prudential supervision by a federal banking agency”; and “Tier 3:

Eligible institutions that are not federally insured and are not considered in Tier 2.” Id. at 51,109-

10. With respect to Tier 3 (which includes institutions such as BSJI), the Board noted that

“detailed regulatory and financial information regarding Tier 3 institutions may not exist or may

be unavailable,” and, “[a]ccordingly, Tier 3 institutions will generally receive the strictest level

of review.” Id. at 51,110.

        The Board noted that its function is to ensure the consistent application of the Guidelines:

“The Board expects the Reserve Banks to engage in consultation with each other and the Board,

as appropriate, on reviews of account and service requests, as well as ongoing monitoring of

accountholders, to ensure that the guidelines are implemented in a consistent and timely

manner.” Id. at 51,106. Consistent with 12 U.S.C. § 342, however, the Board “ma[d]e clear that

legal eligibility does not bestow a right to obtain an account and services.” 87 Fed. Reg. at

51,106. Rather, the Board emphasized that “Reserve Banks . . . retain the discretion to deny a

request for access to accounts and services where, in the Reserve Bank’s assessment, granting

access to the institution would pose risks that cannot be sufficiently mitigated.” Id. at 51,102.

III.    FRBNY’s Communications With The Board Regarding FRBNY’s Decision To Close
        BSJI’s Master Account

        On April 6, 2023, FRBNY sent an email message to Matthew Eichner, a Board Division

Director, “notifying [him] of the intent of [FRBNY] to terminate the access of Banco San Juan

Internacional (“BSJI”) to [FRBNY] accounts and services.” Brennan Declaration, Exhibit T. The

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email message attached two memoranda documenting the reasons for FRBNY’s decision to close

BSJI’s account and summarized these memoranda as follows: “Through its ongoing risk

monitoring of BSJI, [FRBNY] has concluded that BSJI does not meet principle 5 of the

Guidelines because it poses undue risk to the overall economy by facilitating activities such as

money laundering, economic or trade sanctions violations, or other illicit activity.” Id. The email

indicated that, “[g]iven the undue risk posed by BSJI under principle 5,” FRBNY “intends to

exercise its contractual rights to terminate BSJI’s access to [FRBNY] accounts and services.” Id.

       In response, Mr. Eichner wrote: “Board staff have reviewed [FRBNY’s] record

documenting application of the Guidelines in evaluating the risks of BSJI’s access. We have no

concerns with [FRBNY’s] application of the Guidelines to BSJI and with it moving forward with

its intended action to terminate BSJI’s access based on this analysis.” Id.

       Consistent with these communications, and as the Complaint alleges, the decision to

terminate BSJI’s account was made only by FRBNY, which communicated the decision to BSJI

in an April 24, 2023 letter. See, e.g., Complaint ¶¶ 14-27 (recounting four years of events that

only involved FRBNY). Yet in this litigation, BSJI has taken the extraordinary step of suing and

seeking preliminary injunctive relief against the Board.

                                          ARGUMENT

I.     BSJI Lacks Standing To Seek A Preliminary Injunction Against The Board

       A preliminary injunction should not be issued against the Board because BSJI lacks

standing to seek relief from the Board. BSJI’s burden to demonstrate standing for purposes of a

preliminary injunction “is equivalent to that required for summary judgment, at which point a

plaintiff cannot rest on such mere allegations, as would be appropriate at the pleading stage.”

Clementine Co., LLC v. Adams, 74 F.4th 77, 83 n.1 (2d Cir. 2023) (quotation omitted). Here,



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BSJI cannot carry this heavy burden because BSJI cannot demonstrate that its claimed injury is

“fairly . . . trace[able]” to conduct by the Board. Lujan v. Defenders of Wildlife, 504 U.S. 555,

560 (1992) (quotation omitted).

       The record in this case demonstrates that, to the extent BSJI has any injury, it is traceable

only to FRBNY, which alone possesses the discretion to open or close BSJI’s master account.

The Board’s role was a general supervisory function in which the Board validated that FRBNY

had undertaken a sufficient analysis under the Guidelines in reaching its decision. See Brennan

Declaration, Exhibit T. Indeed, the Complaint and BSJI’s moving papers (including ten

declarations with extensive exhibits) are all totally devoid of any evidence that the decision to

terminate BSJI’s account was made by the Board. As the Complaint indicates in the few factual

allegations that actually address the Board, the Board is being sued for no other reason than the

fact that it promulgated the Guidelines. See Complaint ¶¶ 9, 101. 5 BSJI does not allege that the

Board opened or closed its master account, because it could not plausibly support that allegation:

the FRA only indicates that a “Federal reserve bank may receive from any of its member banks,




       5
           The Complaint contains an allegation that the decision was “squarely in the Board’s

bailiwick” because it concerned BSJI’s “legal eligibility.” Complaint ¶ 103. But “legal

eligibility” is Principle 1 of the Guidelines, and the Complaint acknowledges that “FRBNY

predicated its decision to terminate BSJI’s master account expressly upon Princip[le] 5.”

Complaint ¶ 104. The record contains no evidence that the termination was in any way based on

legal eligibility and BSJI’s stray, unsupported allegation concerning eligibility should not be

credited. See, e.g., Curry-Malcolm v. Rochester City Sch. Dist., 835 F. App’x 623, 626 n.3 (2d

Cir. 2020) (“speculative allegations are insufficient to support any . . . causes of action”).


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or other depository institutions . . . deposits of current funds in lawful money[.]” 12 U.S.C. §

342 (emphasis added).

       Tellingly, prior to this lawsuit, BSJI tried to draw the Board into BSJI’s dispute with

FRBNY, and the Board declined to become involved. As the Complaint recounts, BSJI’s outside

consultant explicitly asked the Board to intervene in an effort to stop FRBNY from closing

BSJI’s master account. Complaint ¶ 105. Yet the Board declined, noting that the decision was

FRBNY’s to make. Id. As that consultant details:

       In a series of emails with legal counsel for the Board of Governors of the Federal
       Reserve System in Washington, D.C., people whom I respect, I asked for an
       “internal appellate avenue,” [but] . . . Counsel for the Board of Governors advised
       . . . that the FRBNY “has discretion over BSJI’s master account and access to
       Federal Reserve services.”

ECF 11 ¶ 12. Thus, the Complaint lacks any proper justification for naming the Board as a

defendant.

       Where, as here, a process “is statutorily vested to the control and authority” of one entity,

a plaintiff lacks standing to sue a different entity. Kuck v. Danaher, 822 F. Supp. 2d 109, 138 (D.

Conn. 2011) (holding that there was no standing to sue a state department of public safety over

denial of a gun permit where the denial decision was made by the state board of permit

examiners). That is because any injury is only “fairly traceable” to the entity that has decision-

making power under the applicable “statutory framework.” Id. In accordance with this principle,

the Second Circuit has held that “the only defendants to whom [plaintiffs’] alleged injuries were

fairly traceable were the [state officials] who denied their respective applications,” and not state

officials with general law enforcement responsibilities by virtue of their positions. See

Libertarian Party of Erie Cty. v. Cuomo, 970 F. 3d 106, 122 (2d Cir. 2020), abrogated on other

grounds, New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022).



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       BSJI’s ability to sue the Board is foreclosed by this case law. There is no basis for

standing against the Board because the Board does not have the ability to close BSJI’s master

account. See, e.g., Marino v. Town of Branford, 2018 WL 691715, at *2 (D. Conn. Feb. 2, 2018)

(holding that plaintiff must seek relief only from “the party with the power to suspend and

revoke the plaintiff’s license”); Junel Food Ctr. Corp. v. United States, 1997 WL 634175, at *1

(S.D.N.Y. Oct. 15, 1997) (noting that “the Court denied the injunction and dismissed the

complaint because [plaintiff] had sued the wrong entity”). The power to open and close master

accounts is provided for by 12 U.S.C. § 342, which appears in subchapter IX of the FRA,

12 U.S.C. §§ 341-61, entitled “Powers of the Federal Reserve Banks.” Consistent with this fact,

the Complaint focuses almost exclusively on actions by the FRBNY, recounting in extensive

detail all of the actions taken by FRBNY with respect to BSJI’s master account since 2019. See,

e.g., Complaint ¶¶ 14-27. Thus, the decision being challenged in this case is the decision by

FRBNY to terminate BSJI’s master account. See, e.g., Complaint ¶ 27 (referring to “FRBNY’s

decision to close BSJI’s master account” and claiming that “FRBNY is determined to deny

master [account] access to Puerto Rican [international banking entities]”).

       Relatedly, BSJI cannot show that the decision to revoke its master account would have

been different absent Board involvement. In fact, the record shows the exact opposite: FRBNY

reached its decision on its own. See Brennan Declaration, Exhibit T. Even though FRBNY

notified the Board pursuant to the Guidelines, that does not change that the decision was made

by FRBNY, a fact validated by the Complaint itself. See Complaint ¶¶ 14-27. Under these

circumstances, it is pure speculation that BSJI’s situation would have been different absent the

FRBNY’s notification to the Board. See, e.g., Simon v. E. Kentucky Welfare Rts. Org., 426 U.S.

26, 45 (1976) (noting that respondents did not have standing when “[s]peculative inferences



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[were] necessary to connect their injury to the challenged actions of petitioners”); Warth v.

Seldin, 422 U.S. 490, 507 (1975) (finding petitioners did not have standing when “they rel[ied]

on little more than the remote possibility, unsubstantiated by allegations of fact, that their

situation might have been better had respondents acted otherwise”); Johnson v. City of

Annapolis, 2023 WL 3390823, at *13 (D. Md. May 11, 2023) (finding no standing against HUD

because, “[a]lthough HUD had the ability to wield regulatory enforcement tools . . . , whether

such an intervention would have materially improved [public housing units] remains ‘purely

speculative’”). Indeed, BSJI’s entire theory of the case is that the termination is the result of a

long chain of events that began in 2019, long before the Guidelines came into existence and well

before any notification to the Board pursuant to the Guidelines was even a concern. See, e.g.,

Complaint ¶¶ 24-27 (claiming that FRBNY has “targeted” BSJI since 2019).

        Because BSJI’s claimed injuries cannot be fairly traced to the Board, BSJI lacks standing

to seek a preliminary injunction against the Board.

II.     BSJI Cannot Establish Any Of The Factors Required For A Preliminary Injunction

        Even if BSJI had standing to sue the Board, BSJI cannot meet the strict standard

necessary to obtain a preliminary injunction against the Board. Issuance of a preliminary

injunction is an “extraordinary and drastic remedy” that is “never awarded as of right” and

“should not be routinely granted.” We The Patriots USA, Inc. v. Hochul, 17 F.4th 266, 279 (2d

Cir. 2021) (quotations omitted). To obtain a preliminary injunction that “will affect government

action taken in the public interest pursuant to a statute or regulatory scheme,” BSJI must

demonstrate “(1) irreparable harm absent injunctive relief, (2) a likelihood of success on the

merits, . . . (3) public interest weighing in favor of granting the injunction . . . [and] the balance




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of equities supports the issuance of an injunction.” Id. at 279-80 (quotations omitted). 6 Here,

none of these factors supports enjoining the Board.

       A.       BSJI Cannot Establish Irreparable Harm Because It Cannot Demonstrate
                That Its “Loyal” Customers, Who Are “Friends Or Family Members,” Will
                Be Forever Lost

       BSJI has not established that it will suffer “an injury that is neither remote nor

speculative, but actual and imminent” if its master account is closed. Grand River Enter. Six

Nations, Ltd. v. Pryor, 481 F.3d 60, 66 (2d Cir. 2007) (quotation omitted). As such, it is not

entitled to the drastic remedy of a preliminary injunction.

       Here, BSJI’s self-serving claim that it “is almost certain to experience a terminal loss of

business” (ECF 7 at 15) is both factually questionable and legally insufficient. As a factual

matter, it strains credulity to believe that BSJI’s unique customer base will abandon it forever if

its master account is terminated during this litigation. Specifically, BSJI appears to be unsure

how many customers it has, but claims that the number is either 13 customers or 19 customers.

Compare ECF 10 ¶ 64 (“From December 31, 2018, to December 31, 2022, in just four years,

BSJI went from 734 accountholders to just 19, from 739 accounts to just 20”); with id. ¶ 73

(stating that the bank has “14 accounts and 13 customers”). These 13 or 19 customers are not

ordinary individuals; rather, they are all “friends or family members of BSJI personnel.” ECF 10

¶ 41. Indeed, all of BSJI’s “recent transaction activity is on behalf of entities controlled by ‘close

relatives’ of BSJI’s owner.” ECF 14 ¶ 12. And by BSJI’s own admission, this small group of




       6
           The “public interest” and “balance of equities” factors “merge when the Government is

the opposing party.” Goldstein v. Hochul, 2023 WL 4236164, at *18 (S.D.N.Y. June 28, 2023)

(quoting Nken v. Holder, 556 U.S. 418, 435 (2009)).


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customers who stayed with BSJI, even after the FBI raided the bank, did so because they are “loyal

friends or family members[.]” ECF 10 ¶ 41; see also ECF 14 ¶ 12 (“[BSJI is] left with

accountholders close to the owner”). BSJI cannot demonstrate that these “loyal” customers are

“likely” to forever abandon BSJI. See JSG Trading Corp. v. Tray–Wrap, Inc., 917 F.2d 75, 79

(2d Cir. 1990) (“Likelihood sets, of course, a higher standard than ‘possibility.’”).

         Legally, a claim of irreparable harm cannot survive where it is based on nothing more

than speculation about possible loss of customers. While BSJI claims that the loss of many

customers after the FBI raid is a harbinger as to what will happen if the master account is

suspended (ECF 7 at 16), the case law does not permit such guesswork. Any loss of customers

that has already occurred is a past harm and is not a basis for awarding a preliminary injunction.

See DTC Energy Grp., Inc. v. Hirschfeld, 912 F.3d 1263, 1271 (10th Cir. 2018) (“[N]ot all

plaintiffs who have already suffered lost customers . . . can show a sufficient probability of

future irreparable harm to warrant a preliminary injunction.”). And with all of the current

accountholders being close relatives or friends of the owner, it is highly speculative that these

customers will forever leave the bank if the master account is terminated while this case is being

litigated. See, e.g., Kwan Software Eng’g, Inc. v. Foray Techs., Ltd. Liab. Co., 551 F. App’x 298,

299 (9th Cir. 2013) (declaration by a company president that customers might be lost was “only

speculative evidence”). 7

         At bottom, BSJI cannot rely on self-serving statements from its employees that it will




         7
             The cases that BSJI cites (ECF 7 at 15-17) are distinguishable because none involved a

situation where the business only has customers that are friends and family members of the

owner.


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lose customers. Syncx LLC, v. Kimedics, Inc., 2023 WL 5127834, at *18 (S.D.N.Y. Aug. 10,

2023) (“self-serving declarations that [plaintiff’s] relationship with [its] clients is fragile” do not

suffice to show irreparable harm). BSJI’s “imprecise and unsubstantiated assertions of

irreparable harm do not move the needle” toward showing irreparable harm, and its request for a

preliminary injunction should fail on this basis alone. CG3 Media, LLC v. Belleau Techs., LLC,

2023 WL 2456640, at *9 (S.D.N.Y. Mar. 1, 2023).

        B.      BSJI Cannot Show A Likelihood Of Success Against The Board

        BSJI’s Complaint contains four claims against the Board. BSJI is not likely to succeed on

any of them.

                1.      BSJI Is Unlikely To Succeed On Its APA Claim Because The Board Is
                        Neither Required Nor Able To Provide A Master Account To BSJI

        In Count I of its Complaint, BSJI brings a claim under the APA alleging that, under

12 U.S.C. § 248a, “[t]he FRBNY and the Board are mandated . . . to provide Federal Reserve

bank services, including access to a master account, to all eligible ‘depository institutions’ on a

non-discretionary basis,” but that “even assuming that the FRBNY and the Board possess some

level of discretion concerning master account access, their actions here are patently improper.”

Complaint ¶¶ 114, 115; see also ECF 7 at 18-26. However, 12 U.S.C. § 248a does not say

anything about the granting of master accounts (much less mandate that they be awarded in

every instance), and the Board is not a proper party for a claim concerning the discretion

exercised with respect to BSJI’s master account.

                        a.      12 U.S.C. § 248a Does Not Entitle BSJI To A Master Account

        BSJI’s contention that 12 U.S.C. § 248a requires the Board to grant it a master account

(Complaint ¶ 114) does not withstand scrutiny. Section 248a does not speak to master accounts,

and therefore it does not prevent Reserve Banks from terminating them. In contrast, 12 U.S.C.

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§ 342 – the statutory provision that does address deposit accounts – affirms that Reserve Banks

have discretion with respect to their account relationships.

       Specifically, Section 248a, titled “Pricing of services,” instructs the Board to “put into

effect a schedule of fees” for certain services. 12 U.S.C. § 248a(a). In setting this schedule, the

Board must consider certain principles, among them the understanding that “Federal Reserve

bank services covered by the fee schedule shall be available to nonmember depository

institutions” – prior to enactment of this provision in 1980, services had been limited to member

institutions and free of cost – and that “such services shall be priced at the same fee schedule

applicable to member banks.” See 12 U.S.C. § 248a(c) (“The schedule of fees . . . shall be based

on the following principles: . . .”). In effect, Section 248a serves as an anti-price discrimination

provision. It establishes a schedule of fees for certain services so that a nonmember bank that has

access to the Federal Reserve System will pay the same for those services as a member bank. But

it makes no reference to master accounts, much less commands the Board to direct the opening

of a master account for every institution that wants one regardless of risk. See Jet Courier Servs.,

Inc. v. Fed. Reserve Bank of Atlanta, 713 F.2d 1221, 1227 (6th Cir. 1983) (holding that the law

establishing Section 248a provided that nonmember banks could receive Reserve Bank services

“at the same fees charged member banks”). The title of Section 248a, “Pricing of Services,”

further indicates that it concerns principles for setting prices rather than mandatory availability

of services. See Merit Mgmt. Grp., LP v. FTI Consulting, Inc., 138 S. Ct. 883, 893 (2018)

(section headings “supply cues as to what Congress intended” (quotation omitted)).

       Master accounts are governed by 12 U.S.C. § 342, which empowers, but does not require,

Reserve Banks to open such accounts. Section 342 provides that “[a]ny Federal reserve bank

may receive from any of its member banks, or other depository institutions, . . . deposits[.]”



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12 U.S.C. § 342 (emphasis added). “‘[M]ay’ does not just suggest discretion, it clearly connotes

it.” Biden v. Texas, 142 S. Ct. 2528, 2541 (2022) (quotation omitted). Reserve Banks’ discretion

to receive deposits includes the discretion to decline to receive deposits from an institution. Thus,

while Reserve Banks have the authority to accept deposits – and therefore, to grant accounts to

depository institutions – the FRA does not require them to do so.

       This reading is consistent with judicial interpretations of Section 342. Addressing Section

342 shortly after its enactment in 1913, the Supreme Court rejected an argument similar to

BSJI’s that “the Federal Reserve Bank of Richmond is obliged to receive for collection any

check upon any North Carolina state bank.” Farmers & Merchs. Bank v. Fed. Rsrv. Bank of

Richmond, 262 U.S. 649, 662 (1923). Interpreting Section 342’s language that, “solely for the

purposes of collection,” a Reserve Bank “may receive from any nonmember bank . . . deposits of

checks . . . payable upon presentation,” the Court held that “neither [Section 342], nor any other

provision of the Federal Reserve Act, imposes upon reserve banks any obligation to receive

checks for collection.” Id. The Court noted that Congress had from time to time enlarged “[t]he

class of cases” to which the Reserve Banks’ authority under Section 342 applied, “[b]ut in each

amendment, as in [Section 342], the words used were ‘may receive’ – words of authorization

merely.” Id.

       The Court further observed that the FRA “appears to have been drawn with great care.

Throughout the act the distinction is clearly made between what the [B]oard and the Reserve

Banks ‘shall’ do and what they ‘may’ do.” Id. at 663. The Court listed twenty-one provisions of

the original FRA where both “may” and “shall” were used, and another seven where only “shall”

was used, to illustrate the precision Congress took in distinguishing actions the Board or Reserve

Banks were allowed to take from those they were required to take. Id. at 663 n.6; see also



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Billings Utility Co. v. Advisory Comm. Bd. of Governors, 135 F.2d 108, 111 (8th Cir. 1943)

(listing provisions of the FRA in which Congress distinguished what a Reserve Bank “may” do

from what it “must” do, and holding that the “may” provisions “seem so clearly to be permissive

as to make any other construction of them by interpretation or construction judicial legislation”);

Raichle v. Fed. Reserve Bank of N.Y., 34 F.2d 910, 914 (2d Cir. 1929) (interpreting the phrase

“[a]ny Federal Reserve Bank may . . . discount notes, drafts, and bills of exchange” in 12 U.S.C.

§ 348, and noting that these words “are wholly permissive”). 8

       Further, Congress recently recognized that Reserve Banks may (and do in fact) deny

requests for master accounts. In December 2022, Congress amended the FRA to require the

Board to “create and maintain a public, online, and searchable database” that includes “a list of

every entity that submits an access request for a reserve bank master account and services . . .

including whether . . . a request was approved, rejected, pending, or withdrawn.” 12 U.S.C.




       8
           Consistent with these authorities, both the Board and Reserve Banks have long

recognized that account-opening discretion was afforded to Reserve Banks by Congress pursuant

to Section 13 of the Federal Reserve Act (12 U.S.C. § 342) and is fundamental to their account

relationships. See Chester Morrill, Secretary, Bd. of Governors of the Fed. Rsrv. Sys., Letter X-

9187 (Apr. 26, 1935) (surveying Reserve Banks regarding limited clearing accounts available to

non-member banks prior to 1980 and expressing “the Board’s view that requests for the

establishment of clearing accounts by non-member banks should be passed upon by your

directors in the light of all the circumstances surrounding each application” (emphases added)),

available at https://fraser.stlouisfed.org/archival-collection/mimeograph-letters-statements-

board-4957/letter-secretary-morrill-re-nonmember-bank-clearing-accounts-505912.

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§ 248c(b)(1) (emphasis added). It strains logic to assume that Congress would contemplate that

master account requests by depository institutions may be “rejected” in Section 248c, while

ignoring just two sections away (in Section 248a) a purported requirement that they be granted in

every instance. The fact is that neither Section 248a, nor any other provision, says anything about

a master account being an automatic right, but Section 342 (bolstered by Section 248c) says the

opposite.

       Moreover, Section 248a appears in subchapter II of the FRA, 12 U.S.C. §§ 241-52, titled

“Board of Governors of the Federal Reserve System,” which generally sets out powers and

duties of the Board, and requires the Board to publish a fee schedule. By contrast, Section 342

appears in subchapter IX, 12 U.S.C. §§ 341-61, titled “Powers and Duties of Federal Reserve

Banks.” Cf., e.g., Henderson v. Shinseki, 562 U.S. 428, 439 (2011) (placement of time limit in

subchapter titled “Procedure” and not subchapter titled “Organization and Jurisdiction,” indicates

that Congress regarded it as nonjurisdictional). It makes no sense – as BSJI alleges – that

Congress meant Section 248a, enacted in 1980 as part of a section titled “Pricing of Services,”

which sets out a “pricing principle[]” used to establish a “Schedule of fees,” to overturn the

discretion permitted the Reserve Banks since 1913 to accept deposits by requiring them to open

master accounts for all comers regardless of risk. “Congress . . . does not alter the fundamental

details of a regulatory scheme in vague terms or ancillary provisions – it does not, one might say,

hide elephants in mouseholes.” Whitman v. Am. Trucking Ass’n, 531 U.S. 457, 468 (2001).

       Despite this unambiguous statutory text, a federal district court within the Tenth Circuit

recently denied a motion to dismiss a complaint alleging that the Board has a nondiscretionary

duty to grant all master accounts. See Custodia v. Federal Reserve Bd. Of Govs., No. 1:22-cv-

00125, Doc. 164 (D. Wy. June 8, 2023). The decision was “based mostly” on the opinion of a



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single judge of the Tenth Circuit, which the court found “may plausibly be the law on this

matter” at the motion to dismiss stage. Id. at 10, 12 (citing Fourth Corner Credit Union v. Fed.

Rsrv. Bank of Kansas City, 861 F.3d 1052 (10th Cir. 2017)). That Tenth Circuit judge’s opinion,

which held that a credit union serving the cannabis industry was entitled to a master account

(Fourth Corner, 861 F.3d at 1064-80), suffered from a misreading of the plain text of Sections

248a and 342, and was authored before the more recent issuance of the Board’s Guidelines and

enactment of Section 248c. Notably, however, two other judges on the Fourth Corner panel

appear to have implicitly rejected the notion that every depository institution is automatically

entitled to a master account under Section 248a, authoring opinions indicating that the credit

union’s complaint should have been dismissed. 861 F.3d at 1053-64. And a judge of this Court

similarly appears to have rejected the idea that there is an automatic entitlement to a master

account, granting FRBNY’s motion to dismiss a case concerning alleged delay on it deciding a

master account application. See TNB USA Inc. v. FRBNY, 2020 WL 1445806, at *4 (S.D.N.Y.

Mar. 25, 2020).

       In sum, the unambiguous text of 12 U.S.C. § 342 makes clear that Reserve Banks are

authorized to accept deposits – and therefore open deposit accounts – but are not required to do

so. The language of Section 248a says nothing to the contrary. 9




       9
           Even if the law were otherwise, there would still be no basis for injunctive relief against

the Board because it is beyond dispute that the Board does not take deposits or open, maintain, or

close master accounts. For this reason, the Board is not a party to the relevant contracts and does

not address the threshold contract arguments here.


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                       b.      The Board Is Not A Proper Party For A Claim Concerning
                               The Discretion Exercised With Respect To BSJI’s Master
                               Account

       As an alternative to its claim that Section 248a requires the automatic grant of a master

account, BSJI claims that, to the extent any exercise of discretion is allowed, the Board and

FRBNY abused that discretion. Complaint ¶ 115. But, as previously discussed, the Board does

not make decisions regarding the opening or closing of master accounts. Rather, that function is

performed solely by the Reserve Banks. See 12 U.S.C. § 342. Not surprisingly, the Complaint

does not point to any discretionary acts undertaken by the Board with respect to reaching the

decision to terminate BSJI’s master account. To the contrary, the Complaint alleges action by

FRBNY alone resulting in the decision to terminate BSJI’s account. See Complaint ¶¶ 14-27.

               2.      BSJI Is Unlikely To Succeed On Its Mandamus Claim

       In Count II of the Complaint, BSJI brings a claim for relief under the Mandamus Act.

However, BSJI is unlikely to succeed on this claim against the Board because BSJI cannot show

that there is a “duty owed” to it by the Board, which is a prerequisite to relief under the Act.

28 U.S.C. § 1361.

       Mandamus is “a drastic and extraordinary remedy reserved for really extraordinary

causes.” Cheney v. U.S. Dist. Ct. for D.C., 542 U.S. 367, 380 (2004) (quotation omitted). A

plaintiff must establish that: “(1) there is a clear right to the relief sought; (2) the Government

has a plainly defined and peremptory duty to perform the act in question; and (3) there is no

other adequate remedy available.” Benzman v. Whitman, 523 F.3d 119, 133 (2d Cir. 2008). Here,

there is no statute that imposes upon the Board a duty to enforce the opening of a master account

notwithstanding BSJI’s contention that it “is entitled by law to a master account” under

12 U.S.C. § 248a. Complaint ¶ 122. To the contrary, the Board has fulfilled its responsibilities



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under Section 248a by publishing the required pricing principles and schedule of fees with the

understanding that accounts and services are generally available to both member and nonmember

banks. That statute requires nothing more of the Board. In particular, because the Board does not

have the ability to grant access to Federal Reserve Bank master accounts, the Board cannot be

compelled to “intervene to FRBNY’s unlawful conduct and to resolve [BSJI’s] dispute [with

FRBNY] amicably.” Complaint ¶ 123.

               3.      BSJI Is Unlikely To Succeed On Its Claim Seeking A Declaration
                       Concerning The Interpretation Of 12 U.S.C. § 248a

       In Count III of the Complaint, BSJI seeks a declaration, pursuant to the Declaratory

Judgment Act, 28 U.S.C. § 2201, that “[t]he FRBNY and the Board are mandated by [Section

248a] to provide Federal Reserve bank services, including access to a master account.”

Complaint ¶ 128. This claim merely restates the same issue of statutory interpretation raised in

the APA and mandamus claims, and is not an independently viable claim. See Medtronic, Inc. v.

Mirowski Fam. Ventures, LLC, 571 U.S. 191, 199 (2014) (Declaratory Judgment Act is “only

procedural” and “leav[es] substantive rights unchanged” (quotations omitted)). Accordingly, it

fails for the same reasons that the APA claim fails.

               4.      BSJI Is Unlikely To Succeed On Its Claim Seeking A Declaration
                       That Master Account Termination Would Violate The Due Process
                       Clause

       BSJI’s due process claim, set forth in Count IV of the Complaint, is unlikely to succeed

because BSJI lacks a property interest in a master account, which is a prerequisite to the

attachment of due process rights. Progressive Credit Union v. City of New York, 889 F.3d 40, 51

(2d Cir. 2018). BSJI contends that it has a property interest in a master account, but as discussed

above, it has no automatic right to a master account, and therefore lacks an interest subject to due

process protections. See Town of Castle Rock, Colo. v. Gonzales, 545 U.S. 748, 756 (2005)

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(noting that, for due process purposes, “a benefit is not a protected entitlement if government

officials may grant or deny it in their discretion”).

       C.       The Public Interest And Balance Of Equities Weigh In Favor Of Deferring
                To FRBNY’s Determination Pursuant To Federal Guidelines

       The last factor necessary for preliminary injunctive relief – the public interest and

balance of equities – weighs against granting a preliminary injunction because suspected money

laundering is a serious issue, and deference should be accorded to actions taken in the public

interest in accordance with federal regulatory guidelines addressing the integrity of the banking

system. While BSJI bristles at the notion that possible money laundering is a serious issue if a

bank is small – see ECF 7 at 13 (“From a quantitative standpoint, the potential illicit activity

flowing through BSJI’s Fed account is entirely insignificant to the overall economy.”); id. at 25

(“With its tiny footprint, it cannot be that BSJI . . . poses an ‘undue threat to the overall

economy’”) – there is no de minimis exception to money laundering.

       As the OCC states, “[m]oney laundering poses significant risks to the safety and

soundness of the U.S. financial industry. With the advent of terrorists who employ money-

laundering techniques to fund their operations, the risk expands to encompass the safety and

security of the nation.” 10 Given the profound risks associated with money laundering, the public

interest lies in protecting the integrity of our banking system. See, e.g., FBME Bank Ltd. v.

Mnuchin, 249 F. Supp. 3d 215, 230 (D.D.C. 2017) (noting the “public’s interest in protecting the

U.S. financial system from illicit activity such as money laundering”); United States v. Martin,

320 F.3d 1223, 1227 (11th Cir. 2003) (“[t]he harm from . . . a [money-laundering] transaction



       10
            OCC, Bank Secrecy Act, https://www.occ.treas.gov/topics/supervision-and-

examination/bsa/index-bsa.html.


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does not generally fall upon an individual, but falls upon society in general”) (quotation omitted).

       Consistent with the need to protect our financial system from illegal activity, courts have

recognized that it is appropriate to defer to the judgment of banking authorities as to when

questionable activity – such as suspected money laundering – presents undue risk or rises to the

level of an unsafe or unsound banking practice. See, e.g., Investment Co. Inst. v. FDIC, 815 F.2d

1540, 1550 (D.C. Cir. 1987). This is because “[w]hether a financial institution is in an unsafe or

unsound condition is largely a predictive judgment (i.e., what may happen if this practice

continues), and reviewing courts should be particularly deferential” to expert judgement in such

cases. Franklin Savs. Ass’n v. Director, Office of Thrift Supervision, 934 F.2d 1127, 1145-46

(10th Cir. 1991); accord Golden Pac. Bancorp v. Clarke, 837 F.2d 509, 512 (D.C. Cir. 1988)

(“The Comptroller, incident to his responsibilities, must make innumerable subtle judgments in

describing the content of safe and sound bank practices – judgments that draw upon a mix of

law, accounting, bank custom, and policy.”). Accordingly, at this preliminary stage of this

litigation, the public interest lies in deferring to the expertise of Reserve Bank officials acting in

the public interest consistent with federal regulatory guidelines concerning the determinations

they made with respect to BSJI’s operations.

       Contrasted with the public interest in preventing illegal banking activity and the strong

equities supporting deference on risk determinations, BSJI returns to its speculation about

possible future outcomes, foreboding that “FRBNY’s announced actions would almost certainly

put BSJI out of existence.” ECF 7 at 28. But given that BSJI has been able to survive with only

13 or 19 customers, with total account balances of $1.4 million and 110 incoming transactions in

the most recent year (ECF 10 ¶¶ 64, 65), it is difficult to understand how BSJI has been

financially viable to date. In light of this lack of transparency regarding BSJI’s business model,



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the Court should not accept at face value BSJI’s assertions that it is forever doomed if its master

account is terminated.

       When BSJI’s unsupported assertions of impending harm are weighed against the

compelling interest of preventing possible money laundering, it is not a close call: the balance

weighs strongly in favor of allowing FRBNY’s closure of BSJI’s master account to proceed.

                                           CONCLUSION

       For the foregoing reasons, the Board respectfully requests that the Court deny BSJI’s

motion for a preliminary injunction.



       *                 *             *              *              *              *


                             CERTIFICATE OF COMPLIANCE

       In accordance with Section II.D of the Court’s Individual Practices, the foregoing brief

contains 6977 words, excluding the cover page, table of contents, table of authorities, and this

certificate of compliance. The foregoing brief also complies with the formatting rules set forth in

Section II.D of the Court’s Individual Practices.




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Dated: August 22, 2023

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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 22, 2023, I electronically filed the foregoing using the

court’s CM/ECF system, which will send notification of such filing to all parties of record.


                                             By:      /s/ Joshua P. Chadwick
                                                     Joshua P. Chadwick

                                                     Counsel for Defendant Board of Governors
                                                     of the Federal Reserve System




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